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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
KENT SALVESON,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   21 Civ. 10929 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
                                                                       :      ASSIGNMENT
RELATED MANAGEMENT COMPANY L.P. et al.,                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been assigned to the undersigned for all purposes. All counsel must

familiarize themselves with the Court’s Individual Rules, which are available at

https://www.nysd.uscourts.gov/hon-john-p-cronan. Counsel for all parties are hereby

ORDERED to appear before the undersigned for an Initial Pretrial Conference (“IPTC”) in

accordance with Rule 16 of the Federal Rules of Civil Procedure on July 20, 2022 at 10:00 a.m.

Unless the Court orders otherwise, the Court will conduct the IPTC by teleconference. At the

scheduled time, counsel for all parties should call (866) 434-5269, access code 9176261. Absent

leave of Court obtained by letter-motion filed before the conference, all pretrial conferences must

be attended by the attorney who will serve as principal trial counsel.

        Counsel are directed to confer with each other prior to the conference regarding settlement

and each of the other subjects to be considered at the IPTC. No later than seven days prior to the

IPTC, it is further ORDERED that the parties shall submit a joint letter, not to exceed five (5) pages,

addressing the following in separate paragraphs:

        (1)      A brief statement of the nature of the action and the principal defenses thereto;
        (2)      A brief explanation of why jurisdiction and venue lie in this Court;
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          (3)    A brief description of all outstanding motions and/or all outstanding requests to file
                 motions;
          (4)    A brief description of any discovery that has already taken place, and that which will
                 be necessary for the parties to engage in meaningful settlement negotiations;
          (5)    A list of all prior settlement discussions, including the date, the parties involved, and
                 the approximate duration of such discussions, if any;
          (6)    The estimated length of trial; and
          (7)    Any other information that the parties believe may assist this Court in resolving the
                 action.

By that date, the parties shall also submit to the Court a proposed case management plan and

scheduling order, a template of which is available at https://www.nysd.uscourts.gov/hon-john-p-

cronan.

          If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

proof of termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.20, available at

https://nysd.uscourts.gov/rules/ecf-related-instructions. In accordance with the Court’s Individual

Rules and Practices for Civil Cases, requests for extensions or adjournment may be made only by

letter-motion filed on ECF and must be received at least 48 hours (i.e., two business days) before

the deadline or scheduled appearance, absent compelling circumstances. The written submission

must state (1) the original date(s) set for the appearance or deadline(s) and the new date(s)

requested; (2) the reason(s) for the request; (3) the number of previous requests for adjournment

or extension; (4) whether these previous requests were granted or denied; and (5) whether opposing

counsel consents, and, if not, the reasons given by opposing counsel for refusing to consent.

          Counsel who have noticed an appearance as of the issuance of this order are directed to

notify all other parties’ attorneys in this action by serving upon each of them a copy of this order

and       the    Court’s     Individual     Rules       (available   at     the    Court’s      website,
                                                    2
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https://www.nysd.uscourts.gov/hon-john-p-cronan) forthwith.        If unaware of the identity of

counsel for any of the parties, counsel receiving this order must forthwith send a copy of this order

and Individual Rules to that party personally.

       SO ORDERED.

Dated: June 27, 2022                                 __________________________________
       New York, New York                                     JOHN P. CRONAN
                                                            United States District Judge




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